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7
8                         UNITED STATES DISTRICT COURT
9
                        CENTRAL DISTRICT OF CALIFORNIA
10
11   ERIC WEBER and BRYAN REES,                     Case No. 2:17-cv-08868 GW (Ex)
12   individually and on behalf of all others
     similarly situated,
13                                                  SUPPLEMENTAL DECLARATION
                 Plaintiffs,                        OF PLAINTIFF ERIC WEBER IN
14
                                                    SUPPORT OF HIS OPPOSITION TO
     v.
15                                                  AMAZON’S MOTION TO COMPEL
     AMAZON.COM, INC. and AMAZON                    ARBITRATION AND DISMISS
16
     SERVICES LLC,                                  CLAIMS
17
                 Defendants.                        Date:         June 4, 2018
18                                                  Time:         8:30 a.m.
19                                                  Courtroom:    9D
                                                    Judge:        Hon. George H. Wu
20                                                  Trial Date:   None Set
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                               WEBER SUPPLEMENTAL DECLARATION
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 1                 SUPPLEMENTAL DECLARATION OF ERIC WEBER
 2         I, Eric Weber, declare as follows:
 3         1.     I am an individual over 18 years old. I currently reside in California. I am a
 4 Plaintiff in this case. The facts set forth in this Supplemental Declaration are based upon
 5 my own personal knowledge and, if called as a witness, I could and would competently
 6 testify to the facts set forth herein.
 7         2.     I previously testified that I make many, but not all, of my purchases on
 8 Amazon.com using my smartphone. I estimate that at least 80% of the purchases I have
 9 made on Amazon.com were using my smartphone, with that percentage being higher in
10 recent years. I have no ability to determine which purchases I have made using my
11 smartphone and which purchases I may have made using a regular computer. I have no
12 specific recollection of whether any purchases I made on Amazon.com on February 21
13 or 28 or March 10, 2017, or on March 13, 14, or 18, 2018 were made using a regular
14 computer, but I very much doubt that they were because I rarely use a regular computer
15 to make purchases from Amazon.com. When I make a purchase using my smartphone, I
16 scroll down to review the order details to make sure the order is correct and then I press
17 the button Amazon provides and the end of the order details to complete my purchase. I
18 do not scroll back to the top of the webpage before pressing the button to complete my
19 purchase.
20         3.     I previously testified that I have never received any emailed, mailed, or other
21 type of notice from Amazon telling me that the contract terms I originally agreed to with
22 Amazon had been modified or sending me a link or copy of such terms. This continues
23 to be true. I still have never been asked or required to review and agree to any modified
24 contract terms and I do not know of any changes Amazon may have made to its online
25 terms since I first signed up without telling me. I still have never seen or agreed to any
26 contract terms that require me to arbitrate any claims I had in the past, currently have, or
27 may have in the future against Amazon, and I do not intend to agree to arbitration if
28 Amazon asks me to.

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                                 WEBER SUPPLEMENTAL DECLARATION
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 1         4.    I previously testified that I did not intentionally sign up for a new Amazon
 2 Prime membership on October 26, 2017 or on any other date because for years I have
 3 been able to use shared free shipping services through my sister’s household Amazon
 4 Prime membership. I did not need a new Amazon Prime membership and I did not
 5 intentionally purchase an Amazon Prime membership I did not need. I recently learned
 6 that Amazon’s records may show that I purchased Amazon Prime on my television using
 7 a “Fire TV Stick” I recently bought. I did not know that it was possible to sign up for or
 8 purchase Amazon Prime using my television, and I did not intentionally sign up for or
 9 purchase Amazon Prime using my Fire Stick.
10
11         I declare under penalty of perjury under the laws of the United States of America
12 and the State of California that the foregoing is true and correct. This Declaration was
13 executed on May 7, 2018 at San Dimas, California.
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15                                         By:
16                                         Eric Weber, Plaintiff
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                               WEBER SUPPLEMENTAL DECLARATION
